

People v Rochford (2023 NY Slip Op 05331)





People v Rochford


2023 NY Slip Op 05331


Decided on October 19, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 19, 2023

Before: Kapnick, J.P., Singh, Friedman, González, Shulman, JJ. 


Ind No. 2395/09 Appeal No. 861 Case No. 2022-01623 

[*1]The People of the State of New York, Respondent,
vDeshon Rochford, Defendant-Appellant.


Jenay Nurse Guilford, Center for Appellate Litigation, New York (Nicole P. Geoglis of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Noah J. Sexton of counsel), for respondent.



Order, Supreme Court, Bronx County (Raymond L. Bruce, J.), entered on or about March 31, 2022, which adjudicated defendant a level three sexually violent offender pursuant to the Sex Offender Registration Act (Correction Law art 6-C), unanimously affirmed, without costs.
The court providently exercised its discretion when it declined to grant a downward departure (see People v Gillotti, 23 NY3d 841, 860-861 [2014]). The mitigating factors that defendant cites were either adequately taken into account by the risk assessment instrument or are outweighed by defendant's prison disciplinary record, his lack of experience living as an adult outside of incarceration, and the seriousness of his criminal offense and reoffense history. Indeed, defendant committed the violent crime underlying this appeal within two months after his release on parole for a prior violent crime.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 19, 2023








